       Case 3:15-cr-00120-VAB          Document 482        Filed 09/19/16      Page 1 of 3




                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT


UNITED STATES OF AMERICA                             :
                                                     :       CRIMINAL CASE NO.
v.                                                   :       3:15-CR-00120 (VAB)
                                                     :
WILSON VASQUEZ , ET AL                               :       SEPTEMBER 19, 2016




        ORDER REGARDING MOTION TO SEVER AS TO WILSON VASQUEZ

       Defendant, Wilson Vasquez, has now moved to sever his case from that of his co-

defendant, Alfredo Collazo. Mot. for Severance, ECF No. 474. Mr. Vasquez argues that Mr.

Collazo intends to present a defense at trial that would be prejudicial to Mr. Vasquez. Id. For

the reasons set forth below, Mr. Vasquez‟s motion is DENIED.

       “There is a preference in the federal system for joint trials of defendants who are indicted

together.” Zafiro v. United States, 506 U.S. 534, 537 (1993); United States v. Salameh, 152 F. 3d

88, 115 (2d Cir. 1998). This is particularly true where, as here, the defendants are alleged to

have participated in a common plan or scheme. Salameh, 152 F. 3d at 115; United States v.

Spinelli, 352 F.3d 48, 55 (2d Cir. 2003). Fed. R. Crim. P. 14(a) allows for the severance of a

defendant where “consolidation for trial appears to prejudice a defendant,” and the decision to

grant or deny a severance lies soundly within the discretion of this Court. See United States v.

Diaz, 176 F.3d 52, 102 (2d Cir. 1999) (“The decision to sever a joint trial of federal defendants is

„committed to the sound discretion of the trial judge‟”) (citing United States v. Casamento, 887

F.2d 1141, 1149 (2d Cir.1989)).




                                                 1
        Case 3:15-cr-00120-VAB                Document 482            Filed 09/19/16         Page 2 of 3




         Where a motion for severance is based on antagonistic defenses, severance is only

warranted where a joint trial would “compromise a specific trial right of one of the defendants,

or prevent the jury from making a reliable judgment about guilt or innocence.” Zafiro, 506 U.S.

at 539 (1993). “Mutually antagonistic defenses are not prejudicial per se.” Id. at 538. “In order

to make a showing of „mutually antagonistic‟ or „irreconcilable defenses,‟ the defendant must

make a factual demonstration that „acceptance of one party's defense would tend to preclude the

acquittal of [the] other.‟” Salameh, 152 F. 3d at 116 (internal citations omitted); see also United

States v. O’Connor, 650 F.3d 839, 858 (2d Cir. 2011) (requiring severance where “acceptance of

one defendant‟s defense requires that the testimony offered on behalf of a codefendant be

disbelieved”).

         Here, Mr. Vasquez‟s sole basis for requesting a severance is a statement from Mr.

Collazo‟s attorney that Mr. Collazo intends to testify that he “purchased narcotics from Mr.

Vasquez…for his personal use.” Mot. for Severance 1, ECF No. 474. Mr. Vasquez has been

charged with one count of Conspiracy to Distribute and to Possess with Intent to Distribute

Heroin in this case. Superseding Indictment, ECF No. 337. The defense allegedly proposed by

Mr. Collazo‟s counsel, if believed by the jury, would suggest only that Mr. Vasquez provided

Mr. Collazo with heroin, not that Mr. Vasquez engaged in a conspiracy. Accordingly, Mr.

Vasquez has not established that “acceptance of [Mr. Collazo‟s] defense would tend to preclude

the acquittal of [Mr. Vasquez]” as required for severance based on mutually antagonistic

defenses. Salameh, 152 F.3d at 116.1


1
  Given Mr. Vasquez‟s failure to establish that this alleged defense of Mr. Collazo would result in mutually
antagonistic defenses under the prevailing Second Circuit case law, the Court need not and does not address the
issue of whether Mr. Collazo is likely to waive his Fifth Amendment privilege and testify at all, regardless of
whether such testimony would be unhelpful to Mr. Vasquez‟s case. See O’Connor, 650 F.3d at 59 (“a defendant‟s
professed desire to elicit trial testimony from a codefendant does not require a severance where there is no showing
of a likelihood that the codefendant would waive his Fifth Amendment Privilege and testify at a severed trial or
where, if the codefendant testified, it is likely that his testimony would be subject to damaging impeachment”).

                                                          2
      Case 3:15-cr-00120-VAB       Document 482       Filed 09/19/16      Page 3 of 3




      Mr. Vasquez‟s Motion for Severance is DENIED.



SO ORDERED in Bridgeport, Connecticut this 19th day of September, 2016.

                                                       /s/ Victor A. Bolden
                                                       VICTOR A. BOLDEN
                                                       DISTRICT JUDGE




                                            3
